                          IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE - NASHVILLE DIVISION

 IN RE:

 INTEGRATED HEALING TECHNOLOGIES, LLC                   CASE NO. 18-04526-RM3-7
                                                        CHAPTER 7
                                                        JUDGE RANDAL S. MASHBURN
          DEBTOR.

                                     TRUSTEE'S STATEMENT OF SALE

           Comes now the Trustee, John C. McLemore, and makes the following statement of the sale of
 certain personal property of the above estate by public auction on Thursday, February 21, 2019 at 9:00 a.m.
 Notice of this sale was provided to all creditors and parties in interest by the Notice of Motion of Trustee to
 Sell Property and Motion of the Trustee to Sell Property mailed on January 10, 2019 [D.E. 93] and by Order
 to Sell Property signed and entered on March 20, 2019 [D.E. 111]. By signature below, the Trustee hereby
 certifies that no objections were properly made. The sale was advertised as follows: Signs, Radio,
 Newspaper Ads and Flyers.

          No property was abandoned subsequent to the sale, withdrawn from the sale, missing at the time of
 the sale, or sold for below its appraised value or reasonable value, except as follows: N/A.

         Attached to this statement are documents reflecting the number of bidders, items sold, name of
 purchaser and amount paid for each item or lot (or for the property as a whole if sold in bulk). Also attached
 are copies of vouchers or receipts for all claimed expenses. The gross proceeds totaled $1,392.50.

          The following parties have claimed a security interest in the proceeds of the sale: None

        The calculation of compensation allowable under the order of appointment and pursuant to Local
 Rule 6005-1 is as follows:

          Auctioneer's Commission:                                                       $348.13
          25% Commission for Sale of Personal Property of the first $40,000
                  TOTAL                                                                  $348.13

          Other deductions are as follows (detail each): N/A

          Dated: March 21, 2019
                                                               Respectfully submitted,

                                                               /s/ John C. McLemore, Trustee
                                                               John C. McLemore, Trustee
                                                               Tn. Bar No. 3430
                                                               2000 Richard Jones Rd., Ste. 250
                                                               Nashville, TN 37215
                                                               (615) 383-9495 (phone)
                                                               (615) 292-9848 (fax)
                                                               jmclemore@gmylaw.com




Case 3:18-bk-04526          Doc 112      Filed 03/21/19 Entered 03/21/19 10:33:45                    Desc Main
                                        Document     Page 1 of 19
Case 3:18-bk-04526   Doc 112    Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document     Page 2 of 19
Case 3:18-bk-04526   Doc 112    Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document     Page 3 of 19
Case 3:18-bk-04526   Doc 112    Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document     Page 4 of 19
Case 3:18-bk-04526   Doc 112    Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document     Page 5 of 19
Case 3:18-bk-04526   Doc 112    Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document     Page 6 of 19
Case 3:18-bk-04526   Doc 112    Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document     Page 7 of 19
Case 3:18-bk-04526   Doc 112    Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document     Page 8 of 19
Case 3:18-bk-04526   Doc 112    Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document     Page 9 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 10 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 11 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 12 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 13 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 14 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 15 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 16 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 17 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 18 of 19
Case 3:18-bk-04526   Doc 112     Filed 03/21/19 Entered 03/21/19 10:33:45   Desc Main
                               Document      Page 19 of 19
